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                                                                                                     EXHIBIT

                 This is a Time-Sensitive, Court-Authorized Notice
                         - Not a Solicitation from a Lawyer -
 ________________________________________________________________
                                                                                                      25
           IMPORTANT NOTICE TO ALL CURRENT AND FORMER SERVERS EMPLOYED BY
                          PERRY’S STEAKHOUSE AND GRILLE IN TEXAS
 ________________________________________________________________

 Please read this notice carefully as it may affect your Legal rights to receive compensation related
              to, and resulting from, your employment with Perry’s Restaurants, Ltd.
If you worked as a server for Perry’s Steakhouse and Grille at any time since January 11, 2019 to the
        present, you may be entitled to join a lawsuit for unpaid wages and money damages.
               DEADLINE TO RETURN CONSENT FORM: [INSERT DATE]
1. Why Am I Receiving This Notice?
This Notice is provided in connection with a collective action lawsuit pending in the United States District
Court for the Western District of Texas (“the Court”). The Court authorized this notice to be sent to all
employees whose legal rights may be affected by this lawsuit. At this time, the Court has taken no position
regarding the merits of the underlying claims.

You received this notice because Perry’s records show you worked as a server in the past three (3) years
for Perry’s Steakhouse and Grille at one or more of their Texas locations.

You may be entitled to make a claim and join this lawsuit if:

     •   You worked for Perry’s Steakhouse and Grille as a server at any of the Perry’s
         Steakhouse and Grille restaurants in Texas at any time since January 11, 2019; and
     •   You were paid a subminimum hourly wage (e.g. $2.13 per hour) and were required to (1)
         contribute a portion of your tips to a tip pool, (2) pay for uniforms, (3) pay for tools or
         other items used to perform your job (i.e. check presenters, pens, wine keys, etc.), or (4)
         perform non-tipped sidework duties before, during, or after your shift.
This notice is intended to advise you about your legal rights, how your legal rights may be affected by this
lawsuit and inform you of your right to join this lawsuit.

2. What is This Lawsuit About?
Candice Paschal and Pedro Zarazua, Jr. (“Plaintiffs”) are former servers of Perry’s Steakhouse who filed
this lawsuit on behalf of themselves and on behalf of other current and former servers who were paid a
subminimum hourly wage plus tips.
Plaintiffs allege that Perry’s violated federal law by requiring their servers to: (1) contribute tips to a tip
pool that Perry’s did not fully distribute among other lawful tip pool recipients; (2) pay for uniforms and
other tools used to perform their jobs, and (3) perform non-tipped sidework while being paid at a
subminimum hourly wage. As a result of these violations, Plaintiffs seek to recover money damages
against Perry’s for unpaid minimum wages, misappropriated tips, liquidated damages (double damages),
plus an award for Plaintiffs’ attorneys’ fees and costs. Perry’s disputes the allegations or any liability
arising from the allegations.




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 3. How Do I Join This Lawsuit?
  If you wish to join this lawsuit, you must return a signed consent form to Plaintiffs’ counsel (listed
  below) using one of the following methods:
      1. You may Electronically Sign and Submit a Consent Form by visiting:
         <<hyperlink>>
                                             or
      2. You may return a signed Consent Form by emailing it, faxing it, or mailing it to:
                                           Herrmann Law, PLLC
                                          801 Cherry St. Suite 2365
                                           Fort Worth, TX 76102
                                  Phone (817) 479-9229|Fax (817) 840-5102
                                    Email: consents@herrmannlaw.com

 IF YOU WISH TO JOIN IN THIS LAWSUIT, YOU MUST SUBMIT A SIGNED CONSENT
 FORM BY [INSERT DATE]
  3. What Happens if I Join This Lawsuit?
 By timely submitting the Consent Form you will be part of this case and represented by the Plaintiffs’
 attorneys at Herrmann Law. If you join this lawsuit, you will be bound by any judgment of the Court,
 whether it is favorable or unfavorable. If plaintiffs win or a settlement is reached, you may be entitled to a
 sum as part of the judgment or settlement. If this case not successful, you will receive nothing, but you
 will also not be responsible for any case costs, expenses, or attorneys’ fees.
 Federal law prohibits Perry’s or anyone else from discriminating or retaliating against you for
 exercising your legal rights, including exercising your legal right to join this lawsuit.
  4. What Happens if I Do Not Join This Lawsuit
By doing nothing, you are choosing not to participate in this lawsuit, and you will not be represented by
Plaintiffs’ counsel. If any money is awarded, you will not be entitled to money received as part of a judgment
or settlement, and you will not be bound by the judgment in this lawsuit or by the terms of a settlement (if
one is reached) whether favorable or unfavorable. If you do not join this lawsuit, your rights to sue Perry’s
separately at a future time, for the same or related claims, to the extent permitted by law will not be affected.
However, if you choose not to join this lawsuit, the legal time limit for you to file a claim against Perry’s
will continue to run until your consent is filed with the Court or you file your own lawsuit against Perry’s.

   5. How Do I Get More Information?
 If you have questions or want more information about this lawsuit, including your legal rights, please
 contact the attorneys who are representing the servers in this lawsuit:

                                         Herrmann Law, PLLC
                                        801 Cherry St. Suite 2365
                                         Fort Worth, TX 76102
                               Phone: (817) 479-9229 | Fax: (817) 887-1878
                                  Drew Herrmann | Pamela Herrmann
                           drew@herrmannlaw.com|pamela@herrmannlaw.com




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                             CONSENT TO JOIN FLSA LAWSUIT

I understand that this lawsuit is brought under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.
(“FLSA”) by Candice Paschal and Pedro Zarazua (collectively, “Plaintiffs”), against Perry’s
Restaurants, Ltd. d/b/a/ Perry’s Steakhouse & Grille (“Perry’s”) and Christopher V. Perry, to
recover unpaid wages, liquidated damages, and attorneys’ fees and costs.

By signing this consent, I designate the firm and attorneys at Herrmann Law, PLLC, (“Law Firm”)
and any other attorneys with whom they may associate to pursue my claims for unpaid wages. I also
consent to be bound by the court’s decision or judgment. I understand that I will be bound by, and
will share in, any judgment entered by the Court or the terms of any settlement in this litigation that
may be negotiated on behalf of all Plaintiffs.

I consent to having Plaintiffs and Plaintiffs’ Counsel make decisions on my behalf regarding the
litigation, the method and manner of conducting this litigation, the terms of any potential settlement
in this litigation, entering into an agreement with Plaintiffs’ Counsel regarding representation, and
all other matters pertaining to the lawsuit. If I sign this consent, the decisions or agreements made
and entered into in this litigation by Plaintiffs will be binding on me.

I understand that Plaintiffs have entered into a Representation Agreement with the Law Firm that
applies to all opt-in plaintiffs who sign and file this consent. By singing this consent, I agree to be
bound by the Representation Agreement. I understand that I may obtain a copy of the Representation
Agreement by requesting it from the Law Firm.

I understand that the Law Firm and Plaintiffs may, in the future, appoint other individuals to be
Representative Plaintiff(s) in this litigation. I consent to such appointment and agree to be bound by
the decisions of such new Representative Plaintiff(s) for all purposes related to this litigation.

I acknowledge that this consent will be filed to recover wages that I may be owed by Perry’s, whether
in the action with the Plaintiffs or in a subsequent action filed on my behalf for the recovery of my
wage claim. If needed, I therefore, authorize Plaintiffs’ counsel to use this consent to re-file my claim
in a separate or related action against Perry’s.

________________________                                       ________________________
Printed Named                                                       Date


________________________
Signature




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              PLEASE PRINT OR TYPE THE FOLLOWING INFORMATION:

 This information will not be made part of any public record and is necessary for your attorneys’
                       files for litigation and possible settlement purposes.

Name: _______________________________________________________________________
      First Name                    Middle Initial                Last Name
Any other Name(s) used or known by: ______________________________________________

Street Address: ________________________________________________________________

City, State, & Zip Code: _________________________________________________________

Mobile Telephone: _____________________________________________________________

Secondary Telephone: __________________________________________________________

Emergency Contact: ____________________________________________________________

E-Mail Address: _______________________________________________________________

Estimated dates of employment with Perry’s: ________________________________________

The Perry’s location(s) you work or worked at: _______________________________________

Positions held with Perry’s: ______________________________________________________

Hourly rate(s): ________________________________________________________________

Other Compensation Received: __________________________________________________

                Return this form with your signed consent by [insert date]
             to Plaintiffs’ counsel identified below, by mail, email, or fax to:

                                    Herrmann Law, PLLC
                                   801 Cherry St. Suite 2365
                                     Fort Worth, TX 76102
                          Phone: (817) 479-9229 | Fax: (817) 840-5102
                           Drew N. Herrmann | Pamela G. Herrmann
                      drew@herrmannlaw.com | pamela@herrmannlaw.com




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